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  EXHIBIT B
  ANTIFASH GORDON’S ABUSE
  A Statement Of Separation From AntiFashGordon
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  Antifash Gordon’s Abuse

  Abusers not welcome here: A statement of separation from
  AntiFash Gordon
  This statement is intended to describe behavior enacted by the individual known in the US & Canadian antifascist
  community as “AntiFash Gordon” (AFG). The behavior occurred primarily on the internet but includes in-person
  interactions as well. In addition to the incidents described here, we have received other detailed, credible accounts of his
  abusive behavior and we absolutely believe these accounts. We are now adding our statement to the growing body of
  evidence of harm and risk that AFG leaves in his wake.
  Over the course of several months, accounts of AFG’s behavior have been investigated and vetted to the best abilities of
  the authors of this statement. We are a small group of antifascist researchers who are concerned about the harms AFG
  has committed against antifascists and anarchists, including the impact of his particular style of “activism.” A number
  of contributors have personal experience working with AFG, and some have been directly harmed by his behavior. We
  recognize that many readers will want to personally review evidence of AFG’s behavior, including “receipts.” We hope
  you will understand that in most cases we cannot share screenshots, personal details, etc. out of concern for his victims’
  safety and privacy, centering the concern that AFG may retaliate through doxing or smearing those he believes are
  contributors to this statement. Additionally, we are reluctant to publicly circulate sensitive information about
  community relationships, which could draw scrutiny from white nationalists and law enforcement.
  Thank you to Torch Antifa Network for their solidarity. Please see their analysis : “Concerning Antifash Gordon:
  A Torch Statement In Solidarity With Victims Of Abuse”
  INTRODUCTION
  During and prior to his rise to social media semi-prominence in leftist and antifascist online spaces,
  the person behind the Twitter persona @AntiFashGordon demonstrated patterns of abusive,
  reckless, harmful, and otherwise unprincipled behaviors that are not aligned with antifascist and
  anarchist values. When we speak of antifascist and anarchist values, we’re referring to our
  commitment to anti-racism, feminism, anti-capitalism, opposition to all forms of bigotry, and a
  refusal to collaborate with the state or with police.


  AFG embedded himself in antifascist research communities and open-source intelligence (OSINT)
  work spaces, and within these networks employed a series of abusive tactics against people more
  vulnerable than himself. With almost fifty-seven thousand followers, his Twitter account is
  significantly larger than most of the antifascist accounts he interacts with, making it difficult for
  accounts with only a few hundred or even a few thousand followers to speak out about his behavior.


  AFG has explicitly advocated for the “mainstreaming” of anonymous antifascist research groups.
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  Source [1]
  He also leveraged his online clout and reputation as a “legitimate” antifascist for his own
  professional gain. This is discussed at length in a recent Rolling Stone article in which AFG
  participated to promote his activities and the non-profit organization he is now involved with.


  As AFG made connections with various antifascist crews on Twitter and in person, he also sought
  professional and, per his own admissions to others, romantic relationships with liberal journalists
  and writers. AFG uses the network of clout he has cultivated to create rewards for his inner circle,
  much of which consists of women and people of marginalized genders and identities. He has also
  weaponized his clout in an effort to discourage various collectives from working with one another,
  for romantic as well as professional reasons. This pattern of isolating collectives and crews from
  each other is consistent with the manipulative behavior he practices in his interpersonal
  relationships. It tilts an already-lopsided power dynamic even further in his favor, rather than
  supporting individuals and researchers for the advancement of collective goals.


  AFG’s large platform means that many see him as an authority on antifascism. Unfortunately, his
  patterns of abuse, manipulation, badjacketing, “resource-bombing,” careerism, and poor
  commitment to operational security (OpSec) provide a false representation of what antifascism is to
  new people who may want to get involved. It also endangers those already involved, and makes the
  antifascist movement less safe for those who want to get involved for legitimate reasons.


  OPSEC FAILURES
  In his interactions with others in the movement, AFG demonstrated a lack of commitment to best practices for OpSec
  and personal security. While OpSec is a learning process and no method of online security can be perfect, AFG
  positions himself as an expert and authority on OpSec and OSINT, and is aware of best practices. His failure to
  adhere to them in movement work is another way in which he is a risk to our movement as a whole.
  Despite being celebrated as knowledgeable about security, there have been multiple instances where AFG used unsecure
  or insufficiently secure tools for public collaborations, posing a security risk to himself and anyone who collaborates with
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  him. The use of unsecure tools is particularly concerning, as AFG teaches inexperienced and prospective anti-fascists to
  use them. [2]


  Examples:


  An antifascist activist who has never met AFG was connected to him by a professional colleague via
  Signal in 2018. AFG sent her unsolicited pictures of his face, although they don’t know each other
  and she has never considered him a friend. The disclosure made her uncomfortable, because people
  involved in this type of activism typically go out of their way not to share their face with someone
  they’ve never met. AFG also divulged personal and very identifiable details about his real-life activity
  and locations, as well as that of his romantic partners. It was not clear to the activist whether his
  partners knew that he was sharing that information with her. After his various breakups, he
  recounted details about his relationships that made his past partners appear stupid or helpless.


  In one instance, AFG shared information about the organizing efforts of others, which he claimed
  were “very secret,” with people he did not know well. No one had asked him to share the
  information, nor was it needed to make his point.


  Before he started publicly using his government name in association with his antifascist research,
  AFG dropped many hints about his identity.




  [3], [4], [5], [6]


  AFG also misrepresented the circumstances leading to his initial dox. He told community members
  that his identity was initially uncovered because he was outspoken against a rapist in the Philly
  community. AFG said that as revenge for protecting the community, his real name was leaked by the
  rapist, or someone in the rapist’s orbit, to the local Proud Boys, and it then became public
  information. In fact, AFG’s identity was revealed after he used his legal name to register a honeypot
  website. His webhost unmasked his name when someone complained that the site was using a
  pretense to collect/harvest personal information. AFG lied, perhaps to position himself as a heroic
  protector, but also as an attempt to avoid responsibility for a major OpSec failure. After he was
  doxxed, he told activists that he was happy about it because now he could monetize his skill set
  under his government name.
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  In January of 2021, AFG recommended his followers sign up for a webinar with Skopenow, a
  company with a documented history of collaborating with law enforcement. When a digital security
  expert raised concerns about inexperienced researchers sharing their personal information with
  Skopenow, AFG dismissed them, saying there was “no need to scare people.”




  [7], [8], [9], [10]


  AFG’s poor operational security, and his encouraging of others to also have a lax security culture,
  puts newer anti-fascists who follow him at risk of harassment from fascists, and criminalization by
  law enforcement.


  LEGAL RISKS
  In 2020, AFG volunteered the information that he was being sued for defamation of character by a
  white nationalist. Part of the lawsuit threatened to compel AFG to turn over his Twitter DMs, but
  AFG indicated that he was able to get the case dismissed with the help of powerful attorneys and
  thousands of dollars – resources that are not available to every antifascist or crew he communicates
  with.
  Entanglements with the law are always a risk for antifascists, which we attempt to mitigate by using
  strong OpSec practices. Fascists will use every possible avenue in their attempts to exact revenge for
  being outed, including filing bogus lawsuits as a means to obtain antifascists’ data, as well as tie up
  our time, energy, financial and legal resources. White nationalists are currently suing AFG in another
  case, separate from the one that was dismissed. This means they can use the courts to compel him to
  share information about his collaborators. His sloppy OpSec and unwillingness to de-center himself
  from this work are an ongoing risk to every antifascist who communicates with him.
  D’ambly lawsuit:
  reporting at WWNY TV
  at PacerMonitor
  at Courtlistener
  CAREERISM
  In recent months, AFG has pivoted to becoming a “career antifascist.” He gave multiple interviews to the mainstream
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  press under his government name, and recently became involved with a non-profit group, Deplatform Hate. AFG’s
  title at the organization is “senior researcher,” and he has been described as its “de facto leader.” [11]


  In February of 2021, AFG revealed via interviews in the mainstream press that he is now heading up
  a non-profit organization that promises to “Deplatform Hate.” The organization is purportedly
  focused on researching fascists online – work antifascists do anonymously and with no financial gain
  every day. While there is nothing inherently wrong with working for non-profit organizations (many
  on the left take up work in non-profits to survive capitalism), non-profit organizations cannot and
  will not defeat fascism, and the movement should not rely on non-profit work to do so. AFG’s
  career trajectory, from anonymous Twitter account claiming to be a hardcore antifascist, to public-
  facing non-profit researcher, is a poor example for anyone considering taking up militant antifascist
  work.


  Finally, AFG is a cis white man with financial means who centers himself in the fight against fascism
  and presents himself as an exemplar of anarchistic values. The reality is that AFG is a selfish, self-
  interested, reckless, and harmful individual who has cynically used a movement working for a better
  world as a vehicle for his own financial and social gain, at the expense of others, with no indication
  of accepting accountability for the harms his actions have caused to individuals or the antifascist
  movement.


  ABUSIVE BEHAVIOR
  The authors of this document have communicated with multiple individuals who recounted incidents of abuse at the
  hands of AFG. We have done our best to corroborate these stories by reviewing publicly available narratives and
  information as well as conducting our own interviews and research.
  We also wish to acknowledge that one particular story of abuse, described in a Medium post by AFG’s former
  roommate, was promoted by far-right operatives including Andy Ngo and members of Light Upon Light. AFG has
  used the attention Light Upon Light and Andy Ngo gave to his former roommate’s story of abuse to dismiss this and
  all subsequent claims of abusive or other bad behavior, rather than addressing and taking responsibility for the claims
  themselves. We adamantly and unreservedly condemn Light Upon Light and Andy Ngo; nobody deserves to be
  attacked by the far-right. We want to make it clear that we at no point interacted with Light Upon Light or Andy
  Ngo in the creation of this statement beyond reviewing their internet posts about AFG. Despite AFG’s former
  roommate’s story having been picked up by the far right, we believe the account and see it as part of a larger pattern of
  abuse.


  AFG exhibited abusive behavior towards multiple people with whom he had close relationships,
  including co-housing, professional, and romantic relationships, as well as friendships. Examples of
  this abusive behavior include, but are not limited to, multiple instances of withdrawing affection and
  withholding communication; offering financial resources as gifts or “mutual aid” only to later
  demand repayment; attempting to isolate those close to him from others; violating personal
  boundaries; and gaslighting. The results of these behaviors to his victims have been profound. In
  some cases his targets still live with intense fear of retribution should they speak out.


  AFG has a pattern of targeting those who are already in vulnerable positions, especially people who
  are financially vulnerable and people who struggle with mental illness. He also seems to target
  people of marginalized genders, especially those who are interested in anti-capitalism and anti-
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  fascism. These circumstances allow AFG to establish control and create hierarchy around his various
  forms of power and privilege, not the least of which is that he is wealthy. In more than one case he
  has encouraged his protegés or collaborators to become financially dependent on him, including
  relying on him for their housing. He then leveraged this to control their behavior.


  AFG is very active on Twitter using his @AntiFashGordon account, often tweeting dozens of times
  a day. Many of his online interactions with people of marginalized genders could be interpreted as
  flirtatious. He has a record of using his clout in pursuit of romantic and sexual relationships on
  Twitter. This behavior from a well-known account that is ostensibly used to expose fascists could be
  described as predatory. Multiple people who spoke with us during research for this document stated
  that they are afraid to speak out about AFG because of the protection his online clout affords him,
  and the ease with which he has been able to dismiss his former roommate’s account of abuse. Love
  and romance certainly occur in our movement, but pursuing romance and sex should not be the
  underlying motive of someone’s behavior in movement spaces. Furthermore, a person with a history
  of abuse and a stated commitment to anarchist values should ideally hold themselves accountable
  for maltreatment of others, rather than seeking romantic attention both privately and publicly under
  the guise of movement work.


  MANIPULATIVE BEHAVIOR TOWARD OTHER ANTIFASCISTS
  In addition to causing harm to those with whom he has close personal relationships, AFG has also attempted to
  pressure, smear, and manipulate others in the antifascist movement.


  As a favor to his friend, AFG asked a movement writer to delete some tweets from her private
  account. The writer pointed out that it was her private account, not his, and that the tweets
  accurately reflected her opinion. He then accused her of endangering his friend by tweeting about
  his friend’s cooperation with law enforcement. Since his friend had already stated openly that she
  worked with law enforcement, the writer again refused to delete her tweets. After multiple refusals,
  AFG pressured the writer’s colleagues and even her personal friends to persuade her to delete the
  tweets. The writer’s associates reported that AFG repeated his accusations against the writer to
  them, implied that the writer was part of a fascist smear campaign against him, and suggested that if
  they didn’t help him put pressure on the writer to remove the tweets, they would be complicit in that
  campaign. AFG further suggested that if they continued to refuse his request, he would have no
  choice but to make the matter public.


  AFG has pressured antifascists to accept resources from him that they did not ask for or even
  necessarily need. Multiple people interviewed for this statement said that AFG repeatedly offered
  them help of some kind they never asked for, such as money, connections to jobs, and opportunities
  for media appearances with his friends in the press. This “resource bombing” is a tactic intended to
  make people feel indebted to him, again shifting the power dynamic in his favor.


  In instances where his bad behavior became known in the broader community, AFG weaponized
  movement language and processes in order to intimidate people who accused him of causing harm.
  AFG frequently professed a willingness to undergo accountability work even before accusations of
  harm were brought to his attention, which is in itself an implicit acknowledgement of his own
  behaviors. By preemptively requesting “accountability circles,” AFG took away from those he
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  harmed the agency to initiate an accountability process on their own terms. Such processes do not
  uniformly fit every individual’s particular needs for repairing harm. Anyone who is familiar with
  accountability work knows the focus should be on those who were harmed, not the harmer. AFG’s
  unsolicited offers to be “held accountable” became another way to neutralize and silence people he
  harmed while they were still processing his abuses. Several of the interviewees stated that they felt
  condescended to when AFG offered to participate in an accountability circle to address his
  behaviors. AFG’s disingenuous requests for accountability appear to be another way for him to exert
  control over those he harmed. Based on his actions, we do not believe AFG is interested in genuine
  accountability.


  CONCLUSION, AND STATEMENT OF SEPARATION
  The style of self-centered, individualistic antifascism that AFG has taken up and helped to
  popularize is antithetical to the antifascist movement. This is a horizontal, leaderless, international
  movement intent on crushing fascism by any means necessary as we pursue a world without white
  supremacism. While doxxing individual fascists is a commonly used and often highly effective tactic,
  AFG’s primary call to action for his followers is to call the workplaces of fascists who are exposed in
  an effort to get them fired. While getting fascists fired may be a desirable outcome, there is more to
  antifascist action than the occasional phone zap, and this should not be a guiding strategy or a
  primary goal of the movement.


  Furthermore, there can be no room in the antifascist movement for those who harm our comrades
  and our goals with no interest in sincere accountability, and who prioritize minor internet celebrity
  over antifascist values and principles.


  We are separating from AFG for the health and safety of the broader left community for the
  following reasons: AFG is prone to enact various kinds of abuse against others in intimate or
  professional relationships; is not accountable to anyone in the antifascist or anarchist movements to
  which he claims affinity or feigns proximity; weaponizes his online popularity to attack and silence
  those who criticize him; poses a massive legal and security risk to antifascist communities and the
  movement; and generally uses this movement for his own personal gain and agenda. Based on
  analysis of his actions, we believe AFG does not belong in the antifascist movement and are
  formalizing our separation from him and his work.


  Using the recommendations for separating from Great Lakes Antifa (GLA) as a model, we will not
  work directly or indirectly with AFG. We will not support his work by boosting or sharing it. We
  will not donate to his projects or organizations. We encourage others to examine the claims made in
  this statement and determine if the abuse and mistreatment of comrades is acceptable to you, your
  crew, and/or your organization. We recommend that any involvement in research projects with
  which he is affiliated conclude as swiftly and safely as possible, centering the needs of the project
  participants and the affected community. We also advocate for comrades and crews to proceed with
  caution around those who continue to voice support for AFG and make excuses for his toxic,
  abusive behavior. If individuals or crews choose to work with a known AFG supporter, we caution
  them to take measures to protect themselves emotionally, enforce a strong security culture, and
  enforce strong boundaries to prevent AFG’s manipulation and grooming, especially for people of
  marginalized identities and genders.
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  We strongly urge our comrades, especially people of marginalized genders and identities, to extricate
  themselves from his web as safely and carefully as they can. We understand that the process may
  take some time and encourage anyone seeking support or emotional safety planning to reach out to
  us, using the email listed below. We encourage those who follow, interact with, talk to, and organize
  with AFG to be aware that they do so at their own risk. If AFG takes on a new persona, this will
  also apply to any new name(s) or personae he adopts.


  Based on his past behavior when called out for his abuses, we fully anticipate that AFG will deploy
  the following tactics to continue to evade accountability: denying the accounts of his behavior and
  its impact; smearing this statement as a collaboration with fascists in a conspiracy against him;
  privately or publicly releasing private information about people he believes are authors of or
  contributors to this statement, in an attempt to sully their reputation; highlighting his body of work
  against white nationalism as well as his history of supporting abuse survivors as a shield against
  accounts of his own abusive behavior; and encouraging the many journalists, writers, podcasters,
  and anonymous antifascist social media accounts in his network to defend him. We anticipate some
  comrades will continue to work with him until it is safe for them to leave, and we encourage them to
  prioritize their safe exit over timeliness. We caution readers to be vigilant about his inner circle of
  friends and supporters. For those feeling trapped in their working relationship with AFG, we
  encourage them to reach out to us at AFGabuse@riseup.net
  Some of the creators and supporters of this statement will also publish a follow-up document, which
  will include reflection and self-criticism, regarding the harm AFG caused to multiple people and
  communities over the years. We will reflect on how we enabled him during that time, so that we can
  learn from this, and hopefully make the movement stronger and safer for all who seek to participate
  in good faith. It is our intention to begin the reflection conversation in about three weeks from
  publication date. This reflection is open to any signatory or supporting crew; please email us at
  AFGabuse@riseup.net to participate.


  We encourage everyone to sign their crew’s name to this statement in support of the antifascist
  movement separating from AFG. These are our expectations for solidarity:


                                     •   Be vocal in your support for those who have been harmed,
                                         i.e., resist and call out attempts to discredit the experiences
                                         bravely shared for this statement.
                                     • Refuse to work with AFG in any antifascist investigations or
                                         other projects.
                                     • Be cautious of those who continue to work with AFG or
                                         deny his harmful actions.
                                     • Remain steadfast in your values as antifascists and anarchists.
                                         Work to hold your community to those principles by
                                         recognizing the harm that AFG and others like him have
                                         done and continue to do in our movement.
  Please email AFGAbuse@riseup.net to indicate that you’d like to add your crew’s name to this
  statement.
  Additionally, if you or anyone you know has experienced abuse or manipulation from AFG and
  would like to share those experiences anonymously, please reach out to us through
  AFGAbuse@riseup.net. All such communications will be kept private unless explicitly stated
  otherwise.
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   We fully condemn any and all attempts by right-wingers, fascists, Proud Boys, Neo-Nazis, Andy
   Ngo or any other reactionary to use this document to malign antifascist, anarchist, and left-wing
   movements.


   We protect us.


   312 Antifa
   Anne Frank Army
   Antifa Sacramento
   Antifa Seven Hills
   Antifascist Velma
   Bay161
   Biggest Little City Antifascists
   Blunt Bloc PDX
   Central Oregon Antifascist
   Chicago Anti-Fascist Action
   Coastal Community Defense
   Colorado Anarchist Federation
   Colorado Springs Anti-Fascists
   Corvallis Against Fascism
   Forest City Anarchists
   Front Range AFA
   Fuxnet
   It’s Going Down
   Karma161
   Long Beach Antifa
   NoBonzo
   Pacific Northwest Antifascist Workers Collective
   Pacific Northwest Youth Liberation Front
   Panic! in the Discord collective
   Rain City AFA
   The Rhizone House
   Rocky Mountain Antifa
   Rose City Antifa
   Shield Wall Chicago
   TEN DEMANDS (@TENDEMANDS)
   The Cleveland Digital Self Defense Collective
   Utah161
   Washington Nazi Watch
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